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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                        ORLANDO DIVISION


              In Re:                                        §
                                                            §
              RIVKIND, MIRIAM C.                            §       Case No. 6:15-bk-01933-KSJ
                                                            §
                                  Debtor                    §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      Carla Musselman, Trustee, chapter 7 trustee, submits this Final Account, Certification
              that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 100.00                              Assets Exempt: 408,261.04
              (Without deducting any secured claims)

              Total Distributions to Claimants: 69,439.87           Claims Discharged
                                                                    Without Payment: 4,991,721.11

              Total Expenses of Administration: 44,634.13


                      3) Total gross receipts of $ 114,074.00 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 114,074.00 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS             CLAIMS               CLAIMS                 CLAIMS
                                                SCHEDULED           ASSERTED             ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                         $ NA                $ NA                  $ NA                     $ NA

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA            44,634.13             44,634.13                44,634.13

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                  NA                    NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA                 0.00                  0.00                     0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                              33,099.21        5,028,061.77          5,028,061.77                69,439.87

TOTAL DISBURSEMENTS                                $ 33,099.21      $ 5,072,695.90        $ 5,072,695.90          $ 114,074.00


                  4) This case was originally filed under chapter 7 on 03/06/2015 . The case was pending
          for 42 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 08/05/2018                        By:/s/Carla Musselman, Trustee
                                                                              Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                               EXHIBITS TO
                                                             FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                   UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

    Homestead - 378 Washington Pierson, FL                                    1110-000                                     10,000.00

    Annuities - New York Life annuity                                         1129-000                                     50,000.00

    Annuities - The Standard annuity                                          1129-000                                     40,000.00

2012 Honda CRV - VIN: 5J6RM3H31CL036692                                       1129-000                                     14,000.00

    2014 Income Tax Refund                                                    1224-000                                         74.00

TOTAL GROSS RECEIPTS                                                                                                     $ 114,074.00
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                          UNIFORM           $ AMOUNT
                                                                                                    TRAN. CODE            PAID

NA                                                                                                      NA                        NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                   $ 0.00
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS

                                                   UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.                CLAIMANT                   TRAN.     SCHEDULED                                                CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                    CODE     (from Form 6D)

NA             NA                                    NA                   NA                   NA                 NA              NA




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                                                UNIFORM        CLAIMS
                                                                                 CLAIMS             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                               CLAIMS PAID
                                                                                ASSERTED           ALLOWED
                                                 CODE      (from Form 6D)

TOTAL SECURED CLAIMS                                                  $ NA                $ NA               $ NA            $ NA


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                          SCHEDULED           ASSERTED            ALLOWED
                                          CODE

TRUSTEE
COMPENSATION:CARLA
MUSSELMAN                                 2100-000                    NA             8,953.70            8,953.70         8,953.70


TRUSTEE EXPENSES:CARLA
MUSSELMAN                                 2200-000                    NA              160.29              160.29           160.29


UNION BANK                                2600-000                    NA              613.14              613.14           613.14


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):WINDERWEEDLE
HAINES WARD & WOODMAN                     3210-000                    NA           34,631.52           34,631.52         34,631.52


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):WINDERWEEDLE HAINES
WARD & WOODMAN                            3220-000                    NA              275.48              275.48           275.48

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA          $ 44,634.13         $ 44,634.13      $ 44,634.13
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES




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                                         UNIFORM
                                                              CLAIMS            CLAIMS               CLAIMS
              PAYEE                       TRAN.                                                                         CLAIMS PAID
                                                            SCHEDULED          ASSERTED             ALLOWED
                                          CODE

NA: NA                                          NA                      NA                  NA                   NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                           $ NA                 $ NA               $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                CLAIMS             CLAIMS
                                                UNIFORM
                                                              SCHEDULED           ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                                  CLAIMS PAID
                                                               (from Form       (from Proofs of      ALLOWED
                                                 CODE
                                                                   6E)              Claim)

            INTERNAL REVENUE
03          SERVICE                              5800-000                NA                  0.00                0.00            0.00

TOTAL PRIORITY UNSECURED                                                $ NA               $ 0.00            $ 0.00             $ 0.00
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                CLAIMS             CLAIMS
                                                UNIFORM
                                                              SCHEDULED           ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                                  CLAIMS PAID
                                                               (from Form       (from Proofs of      ALLOWED
                                                 CODE
                                                                   6F)              Claim)

            AT & T Mobility PO Box
            536216 Atlanta, GA 30353-
            6216                                                      529.99                  NA                 NA              0.00


            American Express PO Box
            650448 Dallas, TX 75265                                   780.04                  NA                 NA              0.00


            American Express PO Box
            650448 Dallas, TX 75265                                   302.30                  NA                 NA              0.00




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                                                            CLAIMS             CLAIMS
                                                UNIFORM
                                                          SCHEDULED           ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                           (from Form       (from Proofs of      ALLOWED
                                                 CODE
                                                               6F)              Claim)

            Ann Taylor PO Box 182273
            Columbus, OH 43218                                    302.30                  NA                 NA            0.00


            BB&T PO Box 580435
            Charlotte, NC 28258-0435                           11,597.11                  NA                 NA            0.00


            Bank of America PO Box
            15019 Wilmington, DE
            19886-5019                                          5,463.42                  NA                 NA            0.00


            Broward Adjustment Svcs
            2876 E Oakland Blvd PO Box
            11879 Fort Lauderdale, FL
            33339                                                 411.16                  NA                 NA            0.00


            Carla C Rabassa MD 3045
            SW 81 Ave Miami, FL 33155                           3,000.00                  NA                 NA            0.00


            Citgo Processing Center Des
            Moines, IA 50363-0005                               1,986.63                  NA                 NA            0.00


            Jeena Tomasheski c/o Scott B.
            Smith 515 N. Flagler Drive,
            10th Floor West Palm Beach,
            FL 33401                                                 0.00                 NA                 NA            0.00


            Macy`s PO Box 183083
            Columbus, OH 43218                                    131.95                  NA                 NA            0.00


            Macys 9111 Duke Blvd
            Mason, OH 45040                                     1,954.98                  NA                 NA            0.00




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                             CLAIMS PAID
                                                            (from Form       (from Proofs of      ALLOWED
                                                 CODE
                                                                6F)              Claim)

            Miriam Rabassa 1171 SW 85
            Ave Miami, FL 33144                                  3,300.00                  NA                 NA            0.00


            Monica Rabassa 7481 SW
            Miller Rd Miami, FL 33155                            2,295.44                  NA                 NA            0.00


            Nordstrom Bank Visa P O
            Box 79137 Phoenix, AZ
            85062-9137                                             192.35                  NA                 NA            0.00


            Quest Diagnostics PO Box
            740781 Cincinnati, OH
            45274-0781                                             414.78                  NA                 NA            0.00


            Radiology Specialists of Fl
            PO Box 864552 Orlando, FL
            32886-4552                                             100.76                  NA                 NA            0.00


            SYNCB/TJ Max PO Box
            965016 Orlando, FL 32896                               336.00                  NA                 NA            0.00


            State Farm Insurance One
            State Farm Plaza
            Bloomington, IL 61710                                     0.00                 NA                 NA            0.00


            AMERICAN EXPRESS
07          BANK, FSB                           7100-000              NA                635.04           635.04             8.79


            AMERICAN EXPRESS
06          CENTURION BANK                      7100-000              NA              1,125.63          1,125.63           15.58


02          BB&T                                7100-000              NA            11,320.44          11,320.44          156.72




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                              CLAIMS PAID
                                                            (from Form       (from Proofs of      ALLOWED
                                                 CODE
                                                                6F)              Claim)

04          JEENA TOMASHESKI                    7100-000               NA        5,000,000.00        5,000,000.00       69,220.28


08          PYOD, LLC                           7100-000               NA             1,956.63           1,956.63           27.09


            BELLSOUTH
            TELECOMMUNICATIONS,
01          INC.                                7100-001               NA               138.38             138.38             1.92


05          QUANTUM3 GROUP LLC                  7100-001               NA               349.44             349.44             4.84


09          SYNCHRONY BANK                      7100-001               NA               336.21             336.21             4.65


10          CARLA C RABASSA MD                  7200-000               NA             4,100.00           4,100.00             0.00


12          MIRIAM RABASSA                      7200-000               NA             3,300.00           3,300.00             0.00


11          MONICA RABASSA                      7200-000               NA             4,800.00           4,800.00             0.00

TOTAL GENERAL UNSECURED                                        $ 33,099.21     $ 5,028,061.77      $ 5,028,061.77      $ 69,439.87
CLAIMS




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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                     Page:       1
                                                                                         ASSET CASES                                                                                                       Exhibit 8
Case No:            15-01933       KSJ      Judge: Karen S. Jennemann                                                             Trustee Name:                       Carla Musselman, Trustee
Case Name:          RIVKIND, MIRIAM C.                                                                                           Date Filed (f) or Converted (c):     03/06/15 (f)
                                                                                                                                 341(a) Meeting Date:                 04/08/15
For Period Ending: 08/05/18                                                                                                      Claims Bar Date:                     07/07/15



                                       1                                         2                          3                         4                         5                                    6
                                                                                                   Estimated Net Value
                                                                             Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                             Unscheduled          Less Liens, Exemptions,          Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                    Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. Homestead - 378 Washington Pierson, FL                                     148,858.00                         10,000.00                                           10,000.00                    FA


 2. Financial Accounts BBT 6936                                                      350.00                            0.00                                                0.00                    FA


 3. Household Goods                                                                  900.00                            0.00                                                0.00                    FA


 4. Wearing Apparel                                                                  100.00                            0.00                                                0.00                    FA


 5. Furs and Jewelry                                                                 100.00                         100.00                                                 0.00                    FA


 6. Annuities - New York Life annuity                                          129,809.26                         50,000.00                                           50,000.00                    FA


 7. Annuities - The Standard annuity                                           104,000.00                         40,000.00                                           40,000.00                    FA


 8. Pension / Profit Sharing Fidelity IRA                                       23,243.78                              0.00                                                0.00                    FA


 9. Contingent Claims - Possible Bad Faith Claim                                 Unknown                          10,000.00          OA                                    0.00                    FA


 10. 2012 Honda CRV - VIN: 5J6RM3H31CL036692                                    16,850.00                         14,000.00                                           14,000.00                    FA


 11. Animals                                                                           0.00                            0.00                                                0.00                    FA


 12. 2014 Income Tax Refund (u)                                                        0.00                           74.00                                               74.00                    FA

                                                                                                                                                                                     Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                            $424,211.04                       $124,174.00                                         $114,074.00                           $0.00




LFORM1                                                                                                                                                                                                            Ver: 20.00j
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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:      2
                                                                                               ASSET CASES                                                                                                              Exhibit 8
Case No:             15-01933       KSJ    Judge: Karen S. Jennemann                                                                            Trustee Name:                     Carla Musselman, Trustee
Case Name:           RIVKIND, MIRIAM C.                                                                                                        Date Filed (f) or Converted (c):   03/06/15 (f)
                                                                                                                                               341(a) Meeting Date:               04/08/15
                                                                                                                                               Claims Bar Date:                   07/07/15



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                               Asset Description                                     Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                   (Scheduled and Unscheduled (u) Property)                            Values                  and Other Costs)             OA=554(a) Abandon             the Estate

                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   04/07/15: Motion to Dismiss Case. as Bad Faith Filing Pursuant to 11 U.S.C. Section 707(a)
   04/08/15: 341 meeting held and continued
   05/06/15: 341 meeting held and continued
   05/20/15: 341 meeting held and continued
   05/28/15: Application to Employ Bradley M. Saxton and the law firm of Winderweedle, Haines, Ward & Woodman, PA as
   attorney
   06/03/15: 341 meeting held and concluded.
   06/08/15: Order Approving Application to Employ Bradley M. Saxton and the firm of Winderweedle, Haines, Ward & Woodman,
   P.A.
   10/15: Trial on objection to exemptions scheduled in December 2015.
   11/23/15: Order Granting Motion for Stacy Eckert to Withdraw as Counsel for Debtor
   11/23/15: Order Granting Motion to Extend Time to File Responses to Trustee's Discovery Request.
   09/17: Final settlement payment received. Case is ready to close, pending final fee applications.


   RE PROP# 1---The East 1/2 of The West 1/2 of The Southwest 1/4 of The Southeast 1/4 of Section 28, Township 14 South,
     Range 28 East, lying and being situated in Volusia County, Florida. Property is 11+/- acres inside the city limits of
     Pierson. Debtor's homestead exemption is for 1/2 acre of land and the home. a/k/a 378 W Washington Ave Pierson. Fl
     32180
     07/15: Objection to Exemptions filed
     09/16: Motion for settlement and compromise. Debtor to pay $100k to settle all matters related to objection to
     exemptions for assets 1,6, & 7.




LFORM1                                                                                                                                                                                                                        Ver: 20.00j
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                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page:      3
                                                                                                ASSET CASES                                                                                     Exhibit 8
Case No:            15-01933        KSJ    Judge: Karen S. Jennemann                                                            Trustee Name:                      Carla Musselman, Trustee
Case Name:          RIVKIND, MIRIAM C.                                                                                          Date Filed (f) or Converted (c):   03/06/15 (f)
                                                                                                                                341(a) Meeting Date:               04/08/15
                                                                                                                                Claims Bar Date:                   07/07/15
     10/16: Order granting compromise.
     09/17: Withdrawal of objection to exemptions after satisfaction of compromise monies.
   RE PROP# 3---couch, loveseat, 3 end tables, table & 8 chairs, refrigerator, stove, microwave, table & 3 chairs, 3 beds,
     bunk beds, 3 dressers, 2 end tables, photo albums, christmas decorations, tools, freezer
   RE PROP# 4---everyday clothing and shoes
   RE PROP# 5---earrings and wedding band
   RE PROP# 6---05/15: Debtor purchased annuity 8/06/12 in the amount of $125,000.
     07/15: Objection to exemptions.
     09/16: Motion for settlement and compromise. Debtor to pay $100k to settle all matters related to objection to
     exemptions for assets 1,6, & 7.
     10/16: Order granting compromise.
     09/17: Withdrawal of objection to exemptions after satisfaction of compromise monies.
   RE PROP# 7---05/15: Debtor purchased annuity oon 8/09/12 for $100,000.
     07/15: Objection to exemptions.
     09/16: Motion for settlement and compromise. Debtor to pay $100k to settle all matters related to objection to
     exemptions for assets 1,6, & 7.
     10/16: Order granting compromise.
     09/17: Withdrawal of objection to exemptions after satisfaction of compromise monies.
   RE PROP# 8---Rollover funds from Nationwide Retirement account 403b
   RE PROP# 9---Potential claim against State Farm Insruance for denial of coverage/improper coverage/fraud
     03/16: Debtor amended to disclose asset again after state court ruling adding E&O coverage claim against State Farm.
     09/16: Trustee still investigating claim. Trustee value of claim is minimal to comply with UST reporting requirements of
      2nd interim cycle. Trustee has meet with debtor and debtor attorney to determine cause of action at length. Debtor
     provided trustee with potential special counsel who is still reviewing the facts.
     10/19/16: Notice of Abandonment filed
   RE PROP# 10---2012 Honda CRV, 15000 miles, good condition
     05/15: Estate named as loss payee and additional insured.
     08/03/15: Notice of Intent to Sell filed
     08/31/15: Report of Sale filed
   RE PROP# 11---dog
   RE PROP# 12---05/15: Debtor recieving $74 with no EIC.




LFORM1                                                                                                                                                                                                Ver: 20.00j
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                                                                                                       104 1 Filed 09/05/18      Page 12 of 18
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page:      4
                                                                                           ASSET CASES                                                                                    Exhibit 8
Case No:            15-01933       KSJ    Judge: Karen S. Jennemann                                                       Trustee Name:                      Carla Musselman, Trustee
Case Name:          RIVKIND, MIRIAM C.                                                                                    Date Filed (f) or Converted (c):   03/06/15 (f)
                                                                                                                          341(a) Meeting Date:               04/08/15
                                                                                                                          Claims Bar Date:                   07/07/15
   Initial Projected Date of Final Report (TFR): 08/31/16        Current Projected Date of Final Report (TFR): 01/31/18




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                                                                                                FORM 2                                                                                     Page:     1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit 9
  Case No:             15-01933 -KSJ                                                                                       Trustee Name:                    Carla Musselman, Trustee
  Case Name:           RIVKIND, MIRIAM C.                                                                                  Bank Name:                       UNION BANK
                                                                                                                           Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 08/05/18                                                                                              Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                           Separate Bond (if applicable):


           1              2                              3                                               4                                             5                      6                7
    Transaction       Check or                                                                                                    Uniform                                                  Account / CD
       Date           Reference               Paid To / Received From                        Description Of Transaction          Tran. Code       Deposits ($)      Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                          0.00


   C      06/04/15                INTERNAL REVENUE SERVICE                       Income Tax refund                               1224-000                   74.00                                        74.00
                                  Centralized Insolvency Operations
                                  PO Box 21126
                                  Philadelphia, PA 19114
          06/04/15       12         Asset Sales Memo:                            2014 Income Tax Refund $74.00                                                                                           74.00


   C      07/23/15                MIRIAM C. RIVKIND                              Buyback Installment                             1129-000               14,000.00                                  14,074.00
                                  378 WEST WASHINGTON AVENUE
                                  PIERSON, FL 32180
          07/23/15       10         Asset Sales Memo:                            2012 Honda CRV - VIN: 5J6RM3H31CL036692                                                                           14,074.00
                                                                                 $14,000.00


   C      08/25/15                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         15.00            14,059.00


   C      09/25/15                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.91            14,038.09


   C      10/26/15                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.21            14,017.88


   C      11/25/15                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.86            13,997.02


   C      12/28/15                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.16            13,976.86


   C      01/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.80            13,956.06


   C      02/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.71            13,935.35


   C      03/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         19.35            13,916.00


                                                                                                                          Page Subtotals                14,074.00                 158.00
                                                                                                                                                                                                   Ver: 20.00j
LFORM24
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                                                                                                 FORM 2                                                                                    Page:     2
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit 9
  Case No:             15-01933 -KSJ                                                                                       Trustee Name:                    Carla Musselman, Trustee
  Case Name:           RIVKIND, MIRIAM C.                                                                                  Bank Name:                       UNION BANK
                                                                                                                           Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 08/05/18                                                                                              Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                           Separate Bond (if applicable):


           1              2                             3                                                  4                                           5                      6                7
    Transaction       Check or                                                                                                    Uniform                                                  Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)       Balance ($)


   C      04/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.65            13,895.35


   C      05/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         19.95            13,875.40


   C      06/27/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.59            13,854.81


   C      07/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         19.90            13,834.91


   C      08/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.53            13,814.38


   C      09/22/16                MIRIAM C. RIVKIND                              Settlement of Adversary                         1110-000               10,000.00                                  23,814.38
                                  378 WEST WASHINGTON AVENUE
                                  PIERSON, FL 32180
          09/22/16        1         Asset Sales Memo:                            Homestead - 378 Washington Pierson, FL                                                                            23,814.38
                                                                                 $10,000.00


   C      09/26/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         20.50            23,793.88


   C      10/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         23.64            23,770.24


   C      11/25/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         35.26            23,734.98


   C      12/27/16                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         34.09            23,700.89


   C      01/25/17                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         35.17            23,665.72


   C      02/27/17                UNION BANK                                     BANK SERVICE FEE                                2600-000                                         35.21            23,630.51



                                                                                                                           Page Subtotals               10,000.00                 285.49
                                                                                                                                                                                                   Ver: 20.00j
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                                                                                                  FORM 2                                                                                           Page:     3
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             15-01933 -KSJ                                                                                            Trustee Name:                    Carla Musselman, Trustee
  Case Name:           RIVKIND, MIRIAM C.                                                                                       Bank Name:                       UNION BANK
                                                                                                                                Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 08/05/18                                                                                                   Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                                Separate Bond (if applicable):


           1              2                             3                                                  4                                                5                      6                   7
    Transaction       Check or                                                                                                         Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction              Tran. Code       Deposits ($)      Disbursements ($)          Balance ($)
   C      03/27/17                UNION BANK                                     BANK SERVICE FEE                                     2600-000                                           31.77             23,598.74


   C      04/25/17                UNION BANK                                     BANK SERVICE FEE                                     2600-000                                           35.11             23,563.63


   C      05/25/17                UNION BANK                                     BANK SERVICE FEE                                     2600-000                                           33.93             23,529.70


   C      06/26/17                UNION BANK                                     BANK SERVICE FEE                                     2600-000                                           35.01             23,494.69


   C      07/25/17                UNION BANK                                     BANK SERVICE FEE                                     2600-000                                           33.83             23,460.86


   C      08/14/17                MIRIAM C. RIVKIND                              Preference / Fraudulent Transfer                     1129-000               90,000.00                                 113,460.86
                                  378 WEST WASHINGTON AVENUE
                                  PIERSON, FL 32180
          08/14/17        6         Asset Sales Memo:                            Annuities - New York Life annuity $50,000.00                                                                          113,460.86
          08/14/17        7         Asset Sales Memo:                            Annuities - The Standard annuity $40,000.00                                                                           113,460.86


   C      05/17/18     003001     CARLA MUSSELMAN                                Chapter 7 Compensation/Fees                          2100-000                                         8,953.70        104,507.16
                                  TRUSTEE
                                  1619 DRUID ROAD
                                  MAITLAND, FL 32751


   C      05/17/18     003002     CARLA MUSSELMAN                                Chapter 7 Expenses                                   2200-000                                          160.29         104,346.87
                                  TRUSTEE
                                  1619 DRUID ROAD
                                  MAITLAND, FL 32751


   C      05/17/18     003003     Winderweedle Haines Ward & Woodman, PA         Claim ATTY FEES, Payment                             3210-000                                     34,631.52               69,715.35
                                  Attn: Brad Saxton                              100.000000%
                                  329 Park Avenue North, Second Floor


                                                                                                                                Page Subtotals               90,000.00                 43,915.16
                                                                                                                                                                                                           Ver: 20.00j
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             15-01933 -KSJ                                                                                        Trustee Name:                    Carla Musselman, Trustee
  Case Name:           RIVKIND, MIRIAM C.                                                                                   Bank Name:                       UNION BANK
                                                                                                                            Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 08/05/18                                                                                               Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                4                                            5                       6                   7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Winter Park, FL 32789


   C      05/17/18     003004     Winderweedle Haines Ward & Woodman, PA         Claim ATTY EXPS, Payment                         3220-000                                           275.48             69,439.87
                                  Attn: Brad Saxton                              100.000000%
                                  329 Park Avenue North, Second Floor
                                  Winter Park, FL 32789


   C      05/17/18     003005     BB&T                                           Claim 02, Payment 1.384398%                      7100-000                                           156.72             69,283.15
                                  Bankrupty Section                              1402
                                  100-50-01-51
                                  PO Box 1847
                                  Wilson, NC 27894


   C      05/17/18     003006     Jeena Tomasheski                               Claim 04, Payment 1.384406%                      7100-000                                       69,220.28                    62.87
                                  c/o Scott B. Smith                             (4-1) Based upon injury caused by
                                  515 N. Flagler Drive,                          negligent operation of a motor vehicle
                                  10th Floor
                                  West Palm Beach, FL 33401


   C      05/17/18     003007     American Express Centurion Bank                Claim 06, Payment 1.384114%                      7100-000                                            15.58                   47.29
                                  c o Becket and Lee LLP                         2008
                                  POB 3001
                                  Malvern, PA 19355-0701


   C      05/17/18     003008     American Express Bank, FSB                     Claim 07, Payment 1.384165%                      7100-000                                              8.79                  38.50
                                  c o Becket and Lee LLP                         1003 - Delta
                                  POB 3001
                                  Malvern, PA 19355-0701




                                                                                                                            Page Subtotals                        0.00              69,676.85
                                                                                                                                                                                                        Ver: 20.00j
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                                                       Case 6:15-bk-01933-KSJ              Doc 104            Filed 09/05/18        Page 17 of 18
                                                                                                 FORM 2                                                                                                    Page:      5
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                        Exhibit 9
  Case No:             15-01933 -KSJ                                                                                          Trustee Name:                       Carla Musselman, Trustee
  Case Name:           RIVKIND, MIRIAM C.                                                                                     Bank Name:                          UNION BANK
                                                                                                                              Account Number / CD #:              *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 08/05/18                                                                                                 Blanket Bond (per case limit):      $ 21,463,797.00
                                                                                                                              Separate Bond (if applicable):


           1              2                               3                                               4                                                 5                          6                         7
    Transaction       Check or                                                                                                       Uniform                                                               Account / CD
       Date           Reference                Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
   C      05/17/18     003009     PYOD, LLC                                       Claim 08, Payment 1.384523%                       7100-000                                                 27.09                        11.41
                                  c/o Resurgent Capital Services                  3846 - Citibank
                                  PO Box 19008
                                  Greenville, SC 29602


   C      05/17/18     003010     United States Bankruptcy Court                  REMITTED TO COURT                                                                                          11.41                         0.00
                                  400 West Washington St. Suite 5100              DIVIDENDS REMITTED TO THE COURT
                                  Orlando, Florida 32801                          ITEM #   CLAIM #    DIVIDEND
                                                                                  ==================================
                                                                                    1           01              1.92                7100-001
                                                                                    5           05              4.84                7100-001
                                                                                    9           09              4.65                7100-001



                                                                                                          COLUMN TOTALS                                    114,074.00                  114,074.00                           0.00
                                                                                                              Less: Bank Transfers/CD's                          0.00                        0.00
                                                                                                          Subtotal                                         114,074.00              114,074.00
                                                                                                              Less: Payments to Debtors                                                  0.00
                                                                                                          Net
                                                                                                                                                           114,074.00              114,074.00
                                                                                                                                                                                  NET                             ACCOUNT
                                                                                                          TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                          Checking Account - ********6068                   114,074.00                  114,074.00                          0.00
                                                                                                                                                  ------------------------    ------------------------   ------------------------
                                                                                                                                                            114,074.00                  114,074.00                          0.00
                                                                                                                                                  ==============             ==============              ==============
                                                                                                                                                   (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                              Transfers)               To Debtors)                    On Hand




                                                                                                                              Page Subtotals                        0.00                       38.50
                                                                                                                                                                                                                     Ver: 20.00j
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                                                                                            FORM 2                                                                                       Page:    6
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                      Exhibit 9
  Case No:             15-01933 -KSJ                                                                                  Trustee Name:                    Carla Musselman, Trustee
  Case Name:           RIVKIND, MIRIAM C.                                                                             Bank Name:                       UNION BANK
                                                                                                                      Account Number / CD #:           *******6068 Checking Account
  Taxpayer ID No:    *******5197
  For Period Ending: 08/05/18                                                                                         Blanket Bond (per case limit):   $ 21,463,797.00
                                                                                                                      Separate Bond (if applicable):


          1               2                             3                                            4                                            5                       6                  7
    Transaction       Check or                                                                                               Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)




                                                                                                                      Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                 Ver: 20.00j
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